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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF MONTANA
                          BILLINGS DIVISION


UNITED STATES OF AMERICA,                      CR 16-103-BLG-SPW-2

                     Plaintiff,                ORDER ALLOWING
                                               DEFENDANT TO APPEAR
vs.                                            BY VIDEO
                                               CONFERENCING
FRANCINE JOANN GRANADOS,

                     Defendant.



      Upon the motion of Defendant Francine Joann Granados requesting that she

be allowed to appear at the arraignment on the Third Superseding Indictment by

videoconferencing, the United States having no objection, and good cause

appearing thereon;

      IT IS HEREBY ORDERED that Defendant’s motion to appear by

videoconferencing is GRANTED. Defendant Granados is hereby allowed to

appear for the arraignment by video conferencing on Tuesday June 20, 2017, at

9:00 a.m. (Mountain Time).

      IT IS FURTHER ORDERED that Defendant Granados shall appear in

person on Tuesday, June 20, 2017, at 10:00 a.m. Central Time (9:00 a.m. Mountain

Time) at the Quentin N. Burdick United States Courthouse, 655 1st Ave. N., #130,

Fargo, North Dakota,
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for purposes of appearing at the arraignment by videoconferencing.

      DATED this 13th day of June, 2017.



                                     _______________________________
                                     TIMOTHY J. CAVAN
                                     United States Magistrate Judge
